                                                                                Proposed Distribution                                                                          Page 1 of 1

Case Number: 8:19-80920-CRJ                                                                                                                                          Date: May 18, 2021
Debtor Name: DAVID P JAMES                                                                                                                              PROPOSED DISTRIBUTION


Claim #        Payee Name                        Class               Priority        Amount              Paid To Date        Claim Balance        Proposed Pymt          Funds Remaining

Beginning Balance                                                                                                                                                              $34,948.22

               TAZEWELL T. SHEPARD             Administrative           100               $5,469.50                $0.00            $5,469.50            $5,469.50             $29,478.72
               303 Williams Avenue, Suite 1411
               Huntsville, AL 35801

               TAZEWELL T. SHEPARD             Administrative            0                  $357.00                $0.00              $357.00              $357.00             $29,121.72
               303 Williams Avenue, Suite 1411
               Huntsville, AL 35801

               SPARKMAN, SHEPARD &               Administrative         100              $11,863.00           $11,863.00                 $0.00                   $0.00         $29,121.72
               MORRIS, P.C.
               P.O. Box 19045
               Huntsville, AL 35804

               SPARKMAN, SHEPARD &               Administrative         100                 $322.71              $322.71                 $0.00                   $0.00         $29,121.72
               MORRIS, P.C.
               P.O. Box 19045
               Huntsville, AL 35804

Subtotals for Class Administrative 100.00%                                               $18,012.21           $12,185.71            $5,826.50            $5,826.50

1              DISCOVER BANK                     Unsecured              300               $8,979.52                $0.00            $8,979.52            $5,842.61             $23,279.11
               Discover Products Inc
               P O Box 3025
               New Albany, OH 43054-3025

2              Bancorpsouth Bank                 Unsecured              300               $2,758.11                $0.00            $2,758.11            $1,794.59             $21,484.52
               P O Box 4360
               Tupelo, Ms 38803

3              Chase Bank Usa, N.A.              Unsecured              300              $15,433.11                $0.00           $15,433.11           $10,041.71             $11,442.81
               C/O National Bankruptcy
               Services, Llc
               P.O. Box 9013
               Addison Texas 75001

5              Olympian Diamonds Inc.            Unsecured              300               $1,867.42                $0.00            $1,867.42            $1,215.06             $10,227.75
               8 South Michigan Suite 605
               Chicago, Il 60603-3466

6              Charles Herdemian, Inc.           Unsecured              300               $7,151.50                $0.00            $7,151.50            $4,653.20               $5,574.55
               168 Kinderkamack Road
               Park Ridge, Nj 07656

7              Kristin Kermig                    Unsecured              300               $8,567.54                $0.00            $8,567.54            $5,574.55                    $0.00
               22902 Curtis Drive
               Athens, Al 35611

Subtotals for Class Unsecured 65.07%                                                     $44,757.20                $0.00           $44,757.20           $29,121.72

4              John C. Lowe, Jr. Revocable       Secured                400               $9,204.00                $0.00            $9,204.00                    $0.00                $0.00
               Trust
               Patsy Rentz, Trustee
               C/O James T. Baxter Iii, Esq.
               P.O. Box 165
               Huntsville, Al 35804-0165

Subtotals for Class Secured 0.00%                                                         $9,204.00                $0.00            $9,204.00                    $0.00

               Totals                                                                    $71,973.41           $12,185.71           $59,787.70           $34,948.22                    $0.00

Proposed distribution is dependent on the Court's rulings on administrative expenses, contest of claims, and/or objections made to this proposed distribution.




                    Case 19-80920-CRJ7 Doc 76-3 Filed 05/19/21 Entered 05/19/21 16:00:28                                                                     Desc
                                                                                                                                                            Date Printed 5/18/2021 2:06:17 PM

                              Exhibit 3 - Trustees Proposed Distribution Report Page 1 of 1
